                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION


DOMINICK RUSSO; JAMES RUSSO; and                   )   Case No. 1:24-cv-00186-WS-M
FFC SEAFOOD, INC.,                                 )
                                                   )
     Plaintiffs,                                   )   DEFENDANTS’ CROSS-MOTION
                                                   )   FOR SUMMARY JUDGMENT
     v.                                            )
                                                   )
GINA RAIMONDO, in her official capacity as         )
Secretary of Commerce; JANET COIT, in her          )
official capacity as Assistant Administrator for   )
Fisheries; and NATIONAL MARINE                     )
FISHERIES SERVICE,                                 )
                                                   )
      Defendants.                                  )
                                                   )
                                                   )
                                                   )
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ACL    Annual Catch Limit

ACT    Annual Catch Target

AM     Accountability Measure

APA    Administrative Procedure Act

EEZ    Exclusive Economic Zone

FMP    Fishery Management Plan

IFQ    Individual Fishing Quota

NMFS   National Marine Fisheries Service

NOAA   National Oceanic and Atmospheric Administration




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                                       INTRODUCTION

       Congress enacted the Magnuson-Stevens Fishery Conservation and Management Act

(Magnuson-Stevens Act), originally as the 1976 Fishery Conservation and Management Act, to

establish a national program to conserve and manage fishery resources within the United States’

Exclusive Economic Zone (EEZ or federal waters). Congress recognized the contribution of

fisheries to state and local economies as well as the need for national policy to account for

differences among regional fisheries. Congress also recognized the coordination required

because the resources being managed—fish and other aquatic species—move between federal

and state waters. Accordingly, Congress established a structured process by which the Secretary

of Commerce ordinarily receives and considers recommendations from regional advisory bodies

representing state and regional stakeholders—the Regional Fishery Management Councils—

before she establishes or amends fishery management plans (FMPs) or promulgates

implementing regulations.

       Defendants followed this process for the challenged revision to management measures

related to Gulf of Mexico gag grouper. The Gulf of Mexico Regional Fishery Management

Council (Gulf Council) prepared a proposal to revise the measures, including the allocations

between recreational and commercial fishermen, and submitted it to the National Oceanic and

Atmospheric Administration’s (NOAA) Assistant Administrator for Fisheries, who oversees the

National Marine Fisheries Service (NMFS). Following review, and exercising the Secretary’s

delegated authority, the Assistant Administrator proposed and published for public comment the

Gulf Council’s recommended revised allocations and regulations. After considering public

comments, the Assistant Administrator approved the FMP amendment revising the sector

allocations and promulgated a regulation to implement the amendment.




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       Plaintiffs are commercial fishermen who object to the regulation. They have no

substantive objection to the measures that were adopted but instead contend that the Gulf

Council members who recommended the revision were not appointed in accordance with the

Appointments Clause and were insulated from removal in violation of the Executive Vesting and

Take Care Clauses. This challenge fails because the Gulf Council’s role is purely advisory. The

Magnuson-Stevens Act’s procedural requirement that the Secretary obtain input from regional

stakeholders on FMPs and proposed regulations does not constrain the Secretary’s substantive

policy judgment and discretion to faithfully execute the Act’s mandate. FMPs are not

enforceable without implementing regulations: only promulgated regulations legally bind fishery

participants, and only the Secretary can promulgate proposed and final regulations. Accordingly,

Council members lack the sort of authority necessary to qualify as officers of the United States.

For these reasons, the Court should deny Plaintiffs’ motion for summary judgment and grant

Defendants’ cross-motion for summary judgment.

       In the last year, multiple courts have agreed with the government that the primary

functions of the Councils under the Magnuson-Stevens Act do not confer significant authority on

their members. See Lofstad v. Raimondo, 117 F.4th 493 (3d Cir. 2024); New Eng. Fishermen’s

Stewardship Ass’n v. Raimondo, No. 2:23-CV-00339, 2024 WL 5247893 (D. Me. Dec. 30,

2024). In those cases, the courts also found that certain ancillary provisions of the Act—

provisions not implicated in the rulemaking at issue here—confer significant authority on the

Councils, and therefore severed those ancillary provisions; although the government disagrees

that those ancillary provisions raise constitutional concerns and questions the standing of

Plaintiffs to challenge provisions not involved in the challenged rulemaking, the government

requests that if this Court finds any such provisions to be problematic, the remedy be severance.




                                                 2
                                 STATUTORY BACKGROUND

       Congress enacted the Magnuson-Stevens Act to create a comprehensive, national

approach to managing fisheries within federal waters. 16 U.S.C. § 1801. The Act establishes

federal jurisdiction over fishery resources within the United States’ EEZ and provides for their

conservation and management. Congress recognized that fisheries are “valuable and renewable

natural resources,” the dangers of overfishing, and the economic significance of fisheries to the

United States. Id. § 1801(a)(1)-(3). Congress therefore sought “to take immediate action to

conserve and manage the fishery resources found off the coasts of the United States,” id.

§ 1801(b)(1), and “to promote domestic commercial and recreational fishing under sound

conservation and management principles,” id. § 1801(b)(3). To do so, Congress created a

decisionmaking structure to provide “for the preparation and implementation . . . of fishery

management plans which will achieve and maintain, on a continuing basis, the optimum yield

from each fishery,” id. § 1801(b)(4), and laid out principles to guide their management, id.

§§ 1851-1856.

       The Magnuson-Stevens Act vests responsibility for managing the nation’s fisheries in the

Secretary: “The Secretary shall have general responsibility to carry out any fishery management

plan or amendment approved or prepared by him,” and “may promulgate such regulations, … as

may be necessary to discharge such responsibility or to carry out any other provision of this

chapter.” Id. § 1855(d). Congress created the Regional Fishery Management Councils to advise

the Secretary on regional fishery management. See id. § 1852(a)(1). Each Council is responsible

for advising on a specific geographic region and consists of federal officials, state officials, and

individuals with regional fisheries expertise appointed by the Secretary. Id. § 1852(a), (b).

Congress established the Councils to “enable the States, the fishing industry, consumer and




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environmental organizations, and other interested persons to participate in, and advise on, the

establishment and administration of” FMPs so that they “take into account the social and

economic needs of the States.” Id. § 1801(b)(5).

       The Magnuson-Stevens Act’s process begins with FMPs. These FMPs identify the

“conservation and management measures” “necessary and appropriate for the conservation and

management of the fishery, to prevent overfishing and rebuild overfished stocks, and to protect,

restore, and promote the long-term health and stability of the fishery.” Id. § 1853(a)(1)(A). The

Act establishes plan requirements, id. § 1853(a)(1)-(15). For example, to address overfishing,

FMPs must establish mechanisms for annual catch limits (ACLs) and accountability measures

(AMs). Id. § 1853(a)(15). The Act also identifies other, optional elements. Id. § 1853(b)(1)-(14).

FMPs must be consistent with ten broadly written National Standards Congress enacted to

govern fisheries conservation and management. Id. 1853(a)(1)(C). These standards reflect the

complex tradeoffs between sustainability and economic development central to fisheries

conservation and management. See id. § 1851(a). The Act further requires the Secretary to

“establish advisory guidelines …, based on the national standards, to assist in the development of

fishery management plans.” Id. § 1851(b).

       Congress created a structured process for establishing, modifying, and implementing

FMPs that ordinarily begins with recommendations from Regional Councils. See id.

§§ 1852(h)(1), 1853, 1854(a)-(b). Councils “prepare and submit to the Secretary” proposed

FMPs for any fishery in their region that requires conservation and management, and such plan

amendments as “are necessary from time to time.” See id. § 1852(h)(1). When the Secretary

receives a Council-recommended FMP or amendment, the Secretary reviews it, including “to

determine whether it is consistent with the national standards, the other provisions of [the




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Magnuson-Stevens Act], and any other applicable law,” id. § 1854(a)(1)(A), and then publishes a

notice of availability soliciting public comment, id. § 1854(a)(1)(B). After “tak[ing] into account

the information, views, and comments received from interested persons,” id. § 1854(a)(2)(A), the

Secretary decides whether to “approve, disapprove, or partially approve” the plan or amendment

“by written notice to the Council.” Id. § 1854(a)(3). If the Secretary “disapproves or partially

approves a plan or amendment, the Council may submit a revised plan or amendment to the

Secretary for review.” Id. § 1854(a)(4).

       The Secretary, on her own, may prepare an FMP or “necessary amendment” without a

Regional Council proposal if the Council fails to develop and submit a plan required for fishery

conservation or management in “a reasonable period of time,” or if the Secretary disapproves of

the plan submitted and the Council fails to appropriately revise it. Id. § 1854(c)(1)(A). The

Secretary must “conduct public hearings” to gather input, id. § 1854(c)(2)(A), and solicit

comments from the relevant Council and the public, id. § 1854(c)(4). After considering any

comments, the Secretary may adopt the plan or amendment. Id. § 1854(c)(5). The Secretary, also

on her own, prepares FMPs for highly migratory species. Id. § 1854(g). FMPs are not self-

executing—they are not enforceable without implementing regulations. See N.C. Fisheries Ass’n

v. Gutierrez, 550 F.3d 16, 17 (D.C. Cir. 2008). The plans alone “do not themselves have any

regulatory effect” and thus create no legally binding obligations for fishery participants. Id; Gulf

Restoration Network v. NMFS, 730 F. Supp. 2d 157, 166, 173 (D.D.C. 2010) (same).

       Like FMPs, proposed implementing regulations may originate with either the Regional

Council or the Secretary. If the Council believes regulations would be “necessary or appropriate”

to implement an FMP or amendment, the Council may submit proposed regulations to the

Secretary together with its proposed FMP or amendment. 16 U.S.C. § 1853(c). The Secretary




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reviews the proposed regulations, including for consistency with the relevant FMP, the

Magnuson-Stevens Act, and any other applicable law, and, if appropriate, publishes a proposed

rule, solicits public comment, and ultimately decides what to promulgate as a final rule. Id.

§ 1854(b). The Secretary may decline to publish the proposed rule, returning it to the Council for

a revised proposal, see id. § 1854(b)(1)(B), or revise the proposed regulations herself after

“consult[ing] with the Council” and publishing “an explanation of any differences between the

proposed and final regulations” in the Federal Register, id. § 1854(b)(3).

       The Secretary may also originate regulations. She may “propose regulations in the

Federal Register to implement any [FMP] or amendment” she prepared. Id. § 1854(c)(6). She

must submit the proposed regulations to the Council and open a comment period. Id. After the

comment period closes, she may issue final regulations. Id. § 1854(c)(7). The Secretary also has

general authority to “promulgate such regulations … as may be necessary” to discharge her

responsibilities under the Act. Id. § 1855(d). The Secretary can also promulgate “emergency

regulations or interim measures” that she finds “necessary to address [an] emergency or

overfishing.” Id. § 1855(c)(1). Federal fishery measures bind fishery participants only after the

Secretary promulgates final implementing regulations. Regional Councils cannot promulgate

regulations. See id. §§ 1852, 1854, 1855; J.H. Miles & Co. v. Brown, 910 F. Supp. 1138, 1159

(E.D. Va. 1995); Gen. Category Scallop Fishermen v. U.S. Dep’t of Com., 635 F.3d 106, 112

n.15 (3d Cir. 2011).

       The Secretary has delegated her Magnuson-Stevens Act authorities to the Under

Secretary of Commerce for Oceans and Atmosphere, who oversees NOAA. Departmental

Organizational Order 10-15 (DOO 10-15) § 3.01(aa)(4) (Dec. 12, 2011), https://www.commerce.

gov/opog/directives/DOO_10-15 (last visited Jan. 10, 2025). The Under Secretary has in turn




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delegated those authorities to the Assistant Administrator, currently Janet Coit, who oversees

NMFS. DOO 10-15 § 3.05; NOAA Organizational Handbook, Transmittal No. 61, Part II(C)(26)

(Feb. 24, 2015), see https://www.noaa.gov/sites/default/files/legacy/document/2020/Mar/

transmittal-61.pdf (last visited Jan. 10, 2025). The Assistant Administrator is a duly appointed

inferior officer of the United States. See Reorganization Plan No. 4 of 1970, 84 Stat. 2090, 2091

(1970) (The Assistant Administrator “shall be appointed by the Secretary, subject to the approval

of the President.”). She has the authority to promulgate regulations under the Magnuson-Stevens

Act. 1 See Massachusetts v. Pritzker, 10 F. Supp. 3d 208, 212 n.4 (D. Mass. 2014).

                                 FACTUAL BACKGROUND

       Plaintiffs challenge NMFS’s Final Rule implementing Amendment 56 to the Gulf of

Mexico Reef Fish FMP. AR011539 2 (89 Fed. Reg. 40419 (May 10, 2024)). Amendment 56

revises measures related to Gulf of Mexico gag grouper.

I.     Gag Grouper

       Gulf of Mexico gag grouper is found primarily off the western coast of Florida. See

AR011539. Juvenile gag grouper depend on estuarine environments, which are bodies of water

with an open connection to the sea that typically experience a mixing of sea and fresh water. See

id. As the fish mature, they tend to move to deeper offshore waters to live and spawn. Id. The

spawning season in the Gulf of Mexico ranges from January to mid-April. AR010482. Gag

grouper are known to have lived as long as 33 years; they can grow as long as 54 inches and




1
 The ministerial task of signing approved regulations for purposes of publication in the Federal
Register has been delegated to the Deputy Assistant Administrator for Regulatory Programs.
NOAA Organizational Handbook, Transmittal No. 61, Part III.
2
 Citations to the Administrative Record are noted by the letters AR and a page cite
corresponding to the Bates number found on the bottom right corner of the page(s).


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weigh as much as 68 pounds. Id. The image below of a gag grouper is taken from NMFS’s

website. See https://www.fisheries.noaa.gov/species/gag-grouper (last visited Jan. 10, 2025).




II.     Management of Gag Grouper in the Gulf

        Gulf of Mexico gag grouper is managed as a single stock. The ACL for this stock is

divided between two sectors—commercial and recreational. AR010539. In the Magnuson-

Stevens Act, Congress defined commercial fishing as “fishing in which the fish harvested, either

in whole or in part, are intended to enter commerce or enter commerce through sale, barter or

trade,” and recreational fishing as “fishing for sport or pleasure.” 16 U.S.C. § 1802(4), 1802(37).

Prior to Amendment 56, the commercial sector received 39 percent of the overall ACL, and the

recreational sector received 61 percent. AR011539.

        In 2005, the Council proposed, and NMFS approved, a permanent limited access system

for the commercial sector. 70 Fed. Reg. 41161 (July 18, 2005). A limited access system is one

that “limits participation in a fishery to those satisfying certain eligibility criteria or requirements

contained in a fishery management plan or associated regulation.” 16 U.S.C. § 1802(27). Since

2010, this commercial fishing system for gag grouper has been governed by an individual fishing

quota (IFQ) program that covers gag grouper and tilefish. AR011539. An IFQ is “a Federal

permit under a limited access system to harvest a quantity of fish, expressed by a unit or units

representing a percentage of the total allowable catch of a fishery that may be received or held



                                                   8
for exclusive use by a person.” 16 U.S.C. § 1802(23). Under the IFQ program, NMFS distributes

the commercial quota on January 1 each year to those holding shares. AR011539. Prior to

Amendment 56, the commercial quota was 23 percent less than the commercial ACL. Id.

       For the recreational sector, prior to Amendment 56, NMFS set an annual catch target

(ACT) that was approximately 10 percent lower than the recreational ACL. Id. Rather than a

quota allocated to shareholders at the start of each calendar year, recreational harvest is managed

through accountability measures (AMs), seasonal and area closures, and size and possession

limits. AR011539-40. The AMs required NMFS to prohibit harvest for the rest of the year

whenever the ACL was reached, and, if gag grouper was overfished, any exceedance of the ACL

was deducted from the following year’s ACL and ACT. AR011541-42. If the ACL was

exceeded, then NMFS had to maintain the prior year’s ACT and set the fishing season duration

based on the ACT rather than the ACL. Id. Previously, the recreational fishing season was open

from June 1 to December 31, unless NMFS determined that an earlier closure was necessary to

constrain harvest to the ACL or ACT, as applicable. AR011542.

III.   Amendment 56

       A stock assessment of gag grouper in the Gulf of Mexico was completed in 2021.

AR011540. That assessment concluded that the stock was overfished and undergoing

overfishing. 3 Id. In October 2022, NMFS notified the Gulf Council about the overfished status

and the ongoing overfishing. Id. Both NMFS and the Gulf Council realized that an amendment to

the existing management framework for gag grouper could not be completed until 2024, but that

maintaining the status quo until then would cause further declines in the stock. Id. Accordingly,



3
  The terms “overfished” and “overfishing” mean “a rate or level of fishing mortality that
jeopardizes the capacity of a fishery to produce the maximum sustainable yield on a continuing
basis.” 16 U.S.C. § 1802(34).


                                                 9
in July 2022, the Gulf Council requested interim measures that would reduce the ACL and

shorten the recreational fishing season. Id. NMFS agreed and implemented the measures in 2023.

88 Fed. Reg. 27701 (May 3, 2023).

       While the interim measures were being developed and implemented, the Gulf Council

and NMFS also worked on Amendment 56. The Council approved the proposed amendment at

its June 2023 meeting and then transmitted it to NMFS. AR010426. The agency identified areas

for clarification, and a revised proposal was transmitted to NMFS in September 2023. Id.;

AR010427-680. The following month, NMFS published in the Federal Register a notice of the

availability of Amendment 56 and requested public comment. AR010893 (88 Fed. Reg. 71812

(Oct. 18, 2023)). In November 2023, NMFS published a Proposed Rule to implement

Amendment 56. AR011053-63 (88 Fed. Reg. 77246 (Nov. 9, 2023)). NMFS subsequently

approved Amendment 56 in January 2024 after considering comments received. AR011176.

       On May 10, 2024, NMFS issued the Final Rule. AR011539-56. Amendment 56 and the

Final Rule established a rebuilding plan for gag grouper, which decreased the stock catch limits.

AR010456-57; AR011540. The Amendment and Rule also revised the allocation of catch

between the commercial and recreational sectors, which further modified the sector ACLs.

AR010456-57; AR011541-42. Under Amendment 56, the split between the commercial and

recreational sectors is 35 percent and 65 percent, respectively. AR011541. This modified

distribution reflected the historic landings for each sector. Id. For the commercial sector, the

Rule revised the commercial quota—which is then subdivided among the IFQ shareholders—to

an amount approximately 5 percent lower than the applicable commercial ACL, instead of 23

percent lower. Id. This shift stemmed from substantial improvements in the estimation of




                                                 10
commercial landings and discards. 4 Id. Over the next five years, the commercial ACL is

scheduled to increase from 155,000 pounds in 2024 to 404,000 pounds in 2028. Id.

       For the recreational sector, Amendment 56 and the Final Rule doubled the buffer between

the ACT and ACL, which means the buffer increased to 20 percent. Id. This alteration was

intended to account for the uncertainty in managing recreational harvest and to help reduce

mortality and discards. Id. Over the next five years, the recreational ACL is scheduled to increase

from 288,000 pounds in 2024 to 751,000 pounds in 2028. Id. The Final Rule also modified the

recreational AMs and fishing season. The agency is now required to prohibit harvest when the

ACT is projected to be met. AR011542. In conjunction with the increased buffer between ACL

and ACT, this adjustment is expected to decrease the likelihood that the ACL will be exceeded.

Id. Moreover, the fishing season now begins on September 1, rather than June 1. Id.

       NMFS’s Final Rule also responded to public comments received on the Proposed Rule.

AR011543-50. No public comments discussed the constitutional law issues raised by this case.

                                    STANDARD OF REVIEW

       The Magnuson-Stevens Act authorizes judicial review of regulations implementing an

FMP in accordance with Sections 706(2)(A)-(D) of the Administrative Procedure Act (APA).

16 U.S.C. § 1855(f)(1). Under these sections of the APA, a court may set aside agency

regulations if they are “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law”; “contrary to constitutional right, power, privilege, or immunity”; “in

excess of statutory jurisdiction, authority, or limitations, or short of statutory right”; or “without




4
  An economic discard is a fish that is the target of a fishery but is not retained because it is an
undesirable size, sex, or quality, or for other economic reasons. 16 U.S.C. § 1802(9). A
regulatory discard is a fish that a fisherman is required to discard by regulation whenever caught,
or a fish that a fisher is required to retain by regulation but not sell. Id. § 1802(38).


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observance of procedure required by law.” 5 U.S.C. § 706(2)(A)-(D). In assessing agency action

against these standards, a court should “decide all relevant questions of law, interpret

constitutional and statutory provisions, and determine the meaning or applicability of the terms

of an agency action.” Id. Summary judgment “serves as the mechanism for deciding, as a matter

of law, whether the agency action is supported by the administrative record and otherwise

consistent with the standard of review.” Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of

Eng’rs, 354 F. Supp. 3d 1253, 1267 (N.D. Ala. 2018) (citation omitted).

                                           ARGUMENT

       Plaintiffs’ Appointments Clause challenge fails because only the Secretary (through the

Assistant Administrator, the Secretary’s delegee and a properly appointed inferior officer)

exercises “significant discretion” in “carrying out [] important functions” to execute federal

fishery management policy. Freytag v. Comm’r of Internal Revenue, 501 U.S. 868, 882 (1991).

Councils are advisory bodies; they lack authority to take any action binding fishery participants.

But authority to execute or administer the law is a necessary element for officer status, including

in the cases Plaintiffs cite. The Act vests authority to issue binding regulations solely in the

Secretary, and the Secretary’s exclusive authority to give federal fishery policies legal effect is

dispositive. If there were any question, the Court must read the Act to avoid constitutional

doubts. The Final Rule is lawful, and its adoption was consistent with the Appointments Clause.

I.     Congress Gave the Secretary the Final Word on FMPs and the Exclusive Authority
       to Promulgate Regulations.

       The Magnuson-Stevens Act gives the Secretary “broad authority to manage and conserve

coastal fisheries.” Kramer v. Mosbacher, 878 F.2d 134, 135 (4th Cir. 1989). Indeed, Congress

assigned the Secretary “general responsibility to carry out any fishery management plan or

amendment approved or prepared by [her]” and authorized her to “promulgate such regulations”



                                                 12
“as may be necessary to discharge such responsibility or to carry out any other provision of this

[Act].” 16 U.S.C. § 1855(d). This broad authority shows that the Secretary is ultimately

responsible for executing the Act’s requirements, assuring the political accountability with which

the Appointments Clause is concerned.

       Congress also recognized the importance of fisheries to state and local economies; the

differences among regional fisheries in terms of participants, ecosystems, and environmental

challenges; and the need for coordination between federal and state agencies managing a

resource that can swim between federal and state waters. 5 Congress therefore established a

structured process to inform the Secretary of state and regional interests when setting policy. Yet

the Magnuson-Stevens Act establishes Regional Councils as advisory bodies only.

    A. The Statute’s Terms Do Not Limit the Secretary’s Review.

       When a Regional Council recommends an FMP or amendment, the Secretary has full

discretion to “approve, disapprove, or partially approve” the Council’s proposal. 16 U.S.C.

§ 1854(a)(3). If the Secretary “disapproves or partially approves a plan or amendment, the

Council may submit a revised plan or amendment to the Secretary for review.” Id. § 1854(a)(4).

The Act also empowers the Secretary to prepare FMPs or amendments herself without a Council

proposal if the Council fails to timely submit a plan or if the Secretary disapproves the plan

submitted. Id. § 1854(c).

       The statute does not limit the factors the Secretary may consider in deciding whether to

approve, disapprove, or partially approve FMPs. To be sure, the Magnuson-Stevens Act requires

the Secretary to review Council-recommended FMPs and amendments for consistency “with the



5
 States typically have authority to regulate fishing activities within three miles of shore. 16
U.S.C. § 1802(11); 43 U.S.C. §§ 1301, 1312.


                                                 13
national standards, the other provisions of [the Act], and any other applicable law.” 6 See

16 U.S.C. § 1854(a)(1); id. § 1854(a)(3) (upon disapproval or partial disapproval of an FMP or

amendment, requiring the Secretary to specify the “applicable law” with which the proposal is

inconsistent and “recommend[]” how the Council might conform the action to that law). But it

does not follow that the Act requires the Secretary to rubberstamp Council recommendations

unless they violate an express legal requirement. See Lofstad, 117 F.4th at 500 (adopting this

“reasonable reading”).

    B. The Statute Assigns Fishery Management Councils Only an Advisory Role.

       The primary function Congress assigned Regional Councils is to “prepare and submit”

proposals to the Secretary. See 16 U.S.C. § 1852(h)(1). But these proposals are just that—

proposals. The Secretary remains free to approve or disapprove of Council-recommended FMPs

or amendments and to adopt or alter Council-proposed regulations. Id. § 1854(a)(3). The Act

gives Councils no authority to take actions that have legal effects or impose legal obligations on

any fishery participant. Legal obligations instead flow from the Secretary’s decision to issue

regulations. Id. § 1854(b).

       Both textual and structural features of the Magnuson-Stevens Act confirm the Regional

Councils’ advisory role. To begin with, Congress twice indicates in the Act’s text that it intended

Councils to perform an advisory function. Plaintiffs do not address these textual features. First,

the Act explains that Congress established Councils to “enable the States, the fishing industry,

consumer and environmental organizations, and other interested persons to participate in, and

advise on, the establishment and administration of” fishery management plans in a manner that



6
 Other applicable law includes the Endangered Species Act, Marine Mammal Protection Act,
National Environmental Policy Act, and tribal treaty rights. See NOAA, Magnuson-Stevens Act
Process, at pdf p. 31 (Table X), https://perma.cc/H7SV-3QS9 ((last visited Jan. 10, 2025.)


                                                 14
“take[s] into account the social and economic needs of the States.” 16 U.S.C. § 1801(b)(5)

(emphasis added). Second, Congress expressly excluded Councils from Federal Advisory

Committee Act requirements, id. § 1852(i)(1), indicating Congress believed the Councils would

otherwise be subject to them. This exclusion would be surplusage if Congress thought it was

assigning Councils significant authority, rather than advisory functions. “A statute should be

construed so that effect is given to all its provisions, so that no part will be inoperative or

superfluous.” Clark v. Rameker, 573 U.S. 122, 131 (2014) (cleaned up).

        The Magnuson-Stevens Act’s structure also shows that the Secretary has ultimate

authority over the substance of any FMP, amendment, and regulations. The Act requires that

Council-proposed FMPs, amendments, and regulations undergo notice and comment before the

Secretary finalizes them, see 16 U.S.C. § 1854(a)(1)(B) & (b)(1)(A), and requires the Secretary

to “take into account the information, views, and comments received from interested persons,”

id. § 1854(a)(2)(A). That would be pointless if the Secretary lacked discretion to make decisions

informed by the comments received. The limits that Congress placed on judicial review—

confining it to “[r]egulations promulgated by the Secretary” and “actions that are taken by the

Secretary under regulations which implement a fishery management plan,” see id. § 1855(f)(1)-

(2) (emphasis added)—likewise reflect Congress’s understanding that only the Secretary, and not

Regional Councils, can bind fishery participants in a manner that might require judicial redress.

        The Secretary remains politically accountable for any regulations. This serves the central

aim of the Appointments Clause: “Without a clear and effective chain of command, the public

cannot ‘determine on whom the blame or the punishment of a pernicious measure … ought really

to fall.’ ” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 498 (2010) (quoting

The Federalist No. 70 at 476 (J. Cooke ed. 1961) (A. Hamilton)). Only the Secretary can decide




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to impose legal obligations on fishery participants, and there is “a clear and effective chain of

command” to the Secretary “from the President, on whom all the people vote.” United States v.

Arthrex, Inc., 594 U.S. 1, 11 (2021) (citation omitted). Here, there is no diffusion of

accountability, because all the Act’s legal authority is vested in a principal officer, the Secretary.

    C. Council Members Are Not Officers of the United States.

       The Appointments Clause provides that the President “shall nominate, and by and with

the Advice and Consent of the Senate, shall appoint … all [] Officers of the United States” not

otherwise addressed in the Constitution, but that “Congress may by Law vest the Appointment of

such inferior Officers, as they think proper, in the President alone, in the Courts of Law, or in the

Heads of Departments.” U.S. Const. art. 2, § 2, cl. 2. To qualify as an officer, an individual must

“occupy a ‘continuing’ position established by law” and exercise “significant authority pursuant

to the laws of the United States.” Lucia v. Sec. & Exch. Comm’n, 585 U.S. 237, 245 (2018)

(cleaned up).

       Council members do not meet these requirements and are not officers. Even assuming

members occupy a “continuing” position, despite their temporary and episodic duties, 7 none of

the functions the Magnuson-Stevens Act assigns to Councils involves the exercise of significant

federal authority. As discussed above, the Councils’ role is advisory only, and “an individual

who occupies a purely advisory position … does not hold a position with delegated [] authority

of the federal government and therefore does not hold a federal office.” See Memorandum

Opinion for General Counsels of the Executive Branch from Steven G. Bradbury, Officers of the

United States Within the Meaning of the Appointments Clause, 31 Op. O.L.C. 73, 77 (2007).




7
 The Gulf Council typically meets a handful of times each year, with each meeting lasting just
four days. E.g., AR000001; AR000795; AR001600; AR001947; AR002453.


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       Regional Councils cannot limit, circumscribe, or control the Secretary’s ability to

regulate fisheries. See supra at 14-16. Instead, the Secretary retains final say over the contents of

any approved FMPs or promulgated regulations. That only the Secretary—and not the

Councils—can undertake sovereign acts executing or administering federal fishery management

measures is dispositive. “Significant authority” is modern shorthand for meaningful discretion to

exercise significant sovereign powers of the United States. Going back to the founding and

English common law, a position becomes an “office” only when it is vested with significant

discretion to exercise such authorities. See 31 Op. O.L.C. 73, 78-87. An early opinion from the

Supreme Judicial Court of Maine, for instance, explained that “the term ‘office’ implies a

delegation of a portion of the sovereign power to, and possession of it by the person filling the

office.” Opinion of the Justices, 3 Greenl. (Me.) 481, 482 (1822). Therefore “every ‘office,’ in

the constitutional meaning of the term, implies an authority to exercise some portion of the

sovereign power, either in making, executing or administering the laws.” Id. at 483.

       There is no sense in which Regional Councils are invested with the sovereign functions

of the federal government. Many courts have therefore recognized that Councils play an advisory

role far short of exercising significant authority. E.g., Lofstad, 117 F.4th at 500-01; see also

United Cook Inlet Drift Ass’n v. NMFS, No. 3:21-cv-00247-JMK, 2022 WL 2222879, at *19 (D.

Alaska June 21, 2022) (explaining that Regional Councils “are simply advisory bodies and have

no legal authority”); Goethel v. Pritzker, No. 15-CV-497-JL, 2016 WL 4076831 (D.N.H. July

29, 2016) (reiterating that plan amendments cannot establish rights, obligations, or legal

consequences without implementing regulations, which only the Secretary can promulgate), aff’d

on other grounds, Goethel v. U.S. Dep’t of Com., 854 F.3d 106 (1st Cir. 2017); J.H. Miles, 910

F. Supp. at 1157-59 (finding that Councils have “no ‘authority’ to do anything[,]” and final




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decision-making power rests with NMFS). While Councils are “heavily involved” in developing

FMPs and proposing regulations, they lack authority to take final action, and so the structure of

the Magnuson-Stevens Act “reinforces the advisory nature of the Council’s role.” Flaherty v.

Ross, 373 F. Supp. 3d 97, 104-10 (D.D.C. 2019).

   D. Plaintiffs Misconstrue the Role of Councils in the Process for Approving FMPs and
      Promulgating Regulations.

       Each of Plaintiffs’ four arguments for why the Gulf Council exercises significant

authority lacks merit. Doc. 30 (Pls.’ Br.) at 13-19. First, Plaintiffs contend that the Gulf Council

has “exclusive policymaking power over Gulf of Mexico fisheries in federal waters.” Id. at 13.

This is mistaken and ignores the policymaking role of the Secretary. Although the Magnuson-

Stevens Act creates procedural requirements the Secretary follows before establishing and

implementing federal fisheries policies, these procedures do not constrain the Secretary’s

judgment on substance—that is, on how best to conserve and manage federal fisheries consistent

with Congress’s direction. The Secretary may have to consider a Council’s proposal before

taking action—at least absent an emergency, unreasonable delay, or other necessity—but she

never has to uncritically accept the Council’s recommendations. Plaintiffs read limitations on the

Secretary’s review that are not in the text. The specific authorities the Act assigns the Secretary

when evaluating and implementing Council proposals show her independent discretion on

policy. See 16 U.S.C. § 1854(a)(3), (b)(3).

       With respect to FMPs and plan amendments, Plaintiffs assert that “NMFS must approve

any Council FMP or amendment that does not violate the law.” Pls.’ Br. at 14. But that is not

what the statute says. It says only that “[t]he Secretary shall approve, disapprove, or partially

approve a plan or amendment within 30 days.” See 16 U.S.C. § 1854(a)(3) (emphasis added).

This language does not cabin the Secretary’s discretion. While Section 1854(a)(3) does require



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that the Secretary’s notice of disapproval or partial approval “specify … the applicable law with

which the plan or amendment is inconsistent,” it does not say that the Secretary must approve

absent such an inconsistency. This conclusion is only underscored by comparing Section

1854(b)(1), which governs when the Secretary must solicit public comment on proposed rules, to

Section 1854(a)(3). Section 1854(b)(1) specifies that the Secretary shall initiate an evaluation of

the proposed regulations to determine consistency and “if that determination is affirmative, the

Secretary shall publish” the proposal for public comment. 8 This language—which differs from

Section 1854(a)(3)—shows Congress knew how to prescribe a particular manner of review.

       Moreover, even if Plaintiffs were correct that the Magnuson-Stevens Act limits review of

Council-proposed FMPs or amendments to consistency “with the national standards, the

[Magnuson-Stevens Act], and any other applicable law,” 16 U.S.C. § 1854(a)(1), the Secretary—

not the Councils—would still retain ultimate policymaking discretion when approving FMPs or

amendments. Evaluating whether an FMP or amendment is consistent with the National

Standards is an inherently policy-laden judgment that necessarily involves significant discretion.

The questions the Secretary must resolve to evaluate consistency with the National Standards 9

show that she is responsible and accountable for policy decisions embedded in any FMP or

amendment. For example, National Standard 1 requires preventing overfishing while achieving,

on a continuing basis, “optimum yield,” which is determined based on the maximum sustainable

yield, as reduced by “any relevant economic, social, or ecological factor.” 16 U.S.C. §


8
  This provision addresses only the publication of a proposed rule, not the adoption of binding
regulations, and it does not include the sort of consequences that courts usually require to find
such mandatory-seeming language directed at public officials to be enforceable rather than
stating a procedural condition. See McIntosh v. United States, 601 US. 330, 336-341 (2024).
9
 As required by the Act, the Secretary has promulgated guidelines describing her interpretation
of the National Standards after notice and comment. See 16 U.S.C. § 1851(b); 50 C.F.R.
§ 600.305-600.355.


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1851(a)(1); 50 C.F.R. § 600.310(e)(3)(i). Achieving “optimum yield” requires providing for

rebuilding and “balancing the various interests that comprise the greatest overall benefits to the

Nation,” “particularly with respect to food production and recreational opportunities, and taking

into account the protection of marine ecosystems.” 50 C.F.R. §§ 600.310(e)(3)(i), (b)(2)(ii).

Thus, assessing whether Council-recommended proposals are consistent with the Standards

depends on balancing competing interests.

       Courts have repeatedly recognized the Secretary’s “discretion and judgment” in

reconciling the disparate concerns contained within the National Standards. See State of New

York v. Raimondo, 84 F.4th 102, 107 (2d Cir. 2023) (“The national standards’ expansive text and

structure reflect that Congress intended for NMFS to use discretion and judgment to reconcile

this tension when managing the fishery.” (emphasis added) (cleaned up)); Lovgren v. Locke,

701 F.3d 5, 32 (1st Cir. 2012) (“The purposes of the national standards are many, and can be in

tension with one another. … Compliance with the national standards requires balancing by the

agency and the exercise of discretion and judgment.” (emphasis added)); All. Against IFQs v.

Brown, 84 F.3d 343, 349-50 (9th Cir. 1996) (“Congress required the Secretary to exercise

discretion and judgment in balancing among the conflicting national standards[.]” (emphasis

added)). The Magnuson-Stevens Act gives “NMFS rulemaking flexibility to react to dynamic

natural conditions and account for multiple stakeholders.” State of New York, 84 F.4th at 107.

The language Congress uses—“optimum,” “where practicable,” “minimize,” “take into

account”—presumes the Secretary’s exercise of discretion and judgment. See Conservation L.

Found. v. Ross, 374 F. Supp. 3d 77, 91 (D.D.C. 2019).

       Unlike the Secretary, the Council has no authority to execute or administer the laws of

the United States, much less exercise significant discretion in doing so. Contra Pls.’ Br. at 15




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(contending that the Council “can do everything to make policy”). While the Council may

“prepare and submit” proposals to the Secretary, 16 U.S.C. § 1852(h)(1), only the Secretary can

determine their final content and put sovereign weight behind them. See supra at 12-16. The

Councils’ inability to impose legally enforceable obligations on fishery participants distinguishes

them from officials found to violate the Appointments Clause, which severely undermines

Plaintiffs’ effort to shoehorn this case into Lucia and Freytag. See Pls.’ Br. at 15; New Eng.

Fishermen’s, 2024 WL 5247893, at *53 (“the officials deemed federal officers in those two cases

wielded substantially different authority than the policy development role of Council Members”).

       The administrative law judges in Lucia, for example, “exercise[d] significant discretion”

in “tak[ing] testimony, conduct[ing] trials, rul[ing] on the admissibility of evidence, and …

enforc[ing] compliance with discovery orders.” 585 U.S. at 247 (citation omitted). The Court

found them to be officers because they wielded “nearly all the tools of federal trial judges” in

proceedings against private parties. Id. In fact, they issued decisions that could be “deemed the

action of the Commission” and that resolved legal matters without further review. Id. at 249.

This “last-word capacity” was central to the court’s ruling in Lucia. Id.

       Similarly, the Tax Court special trial judges in Freytag had “the power to enforce

compliance with discovery orders,” 501 U.S. at 881-82, and to “punish contempts by fine or

imprisonment,” id. at 891. In light of the special trial judges’ role within the Tax Court, the

government conceded that they acted as inferior officers in cases in which they could enter final

decisions. Id. at 882. The Supreme Court accepted that concession from the government and

concluded that “[s]pecial trial judges are not inferior officers for purposes of some of their duties

under [the statute] but mere employees with respect to other responsibilities.” Id. Thus, the

special trial judges’ final decision-making authority was significant to the Court’s decision.




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       Plaintiffs incorrectly contend that Freytag is analogous because there is one type of

special tax judge decision that is subject to review by a tax judge, like the Council decisions are

subject to NMFS review. Pls.’ Br. at 15. But in that case, unlike the Councils, the special trial

judges did issue final decisions on some matters. Simply recommending proposals to duly

authorized decisionmakers does not require any sovereign powers of the United States, and so

does not rise to the level of exercising significant discretion executing federal authority.

“[M]erely render[ing] assistance to another in the performance of [the] functions [of

government]” does not entail significant authority. See Bradbury Memo, 31 Op. O.L.C. at 98.

       The decision in Buckley v. Valeo, 424 U.S. 1, 109 (1976), is also inapposite. There, the

Supreme Court found that Federal Election Commission members were officers under the

Appointments Clause because they had “primary and substantial responsibility for administering

and enforcing the [Federal Election Campaign] Act,” including extensive rule making and

adjudicative powers, as well as record-keeping, disclosure, and investigative functions. Id. The

Commission members had “primary responsibility for conducting civil litigation in the courts of

the United States” and, unlike Regional Councils, they had “broad administrative powers” of

“rulemaking.” Id. at 140. The Councils lack any rulemaking powers. Thus, Council members do

not wield “‘significant discretion’ when carrying out ‘important functions.’” Lucia, 585 U.S. at

248.

       Lastly, Plaintiffs’ brief includes several quotes from an interview given by Deputy

Assistant Administrator Rauch in 2016. See, e.g., Pls.’ Br. at 13, 15. This interview is not in the

Administrative Record, and thus falls outside the scope of judicial review. See Pres. the

Endangered Areas of Cobb’s History, Inc. v. U.S. Army Corps of Eng’rs, 87 F.3d 1242, 1246

(11th Cir. 1996). Even if the Court considers this interview, which it should not, the comments




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are inconsistent with the Executive Branch’s long-standing interpretation and implementation of

the Magnuson-Stevens Act, 10 are not authoritative, and should be disregarded.

       Second, Plaintiffs contend that “NMFS cannot act until the Council initiates the process.”

Pls.’ Br. at 13. This bald assertion is rebutted by the plain text of the Act. The Secretary wields

significant authority to, inter alia, prepare her own FMP when a Council fails to develop one, as

well as for highly migratory species. See 16 U.S.C. § 1854(c), (g). This work is independent of

the Council. Plaintiffs’ brief includes a footnote that directly undercuts their argument. Pls.’ Br.

at 16 n.5. They admit that NMFS can exercise “unilateral rulemaking powers.” Id. And they

incorrectly attempt to limit that power to Section 1854(c), which overlooks Section 1854(g).

       Third, Plaintiffs misinterpret key aspects of the statutory scheme when they suggest that

the Gulf Council’s decisions with respect to FMPs and regulations “have independent effect.”

Pls.’ Br. at 16-18. To begin, Plaintiffs errantly rely on the final paragraph of 16 U.S.C.

§ 1854(a)(3), which provides that a “plan or amendment shall take effect as if approved” if the

Secretary does not “notify a Council within 30 days of the end of the comment period” of her

approval, disapproval, or partial approval. See Pls.’ Br. at 16. Setting aside the Secretary’s ability

to stop this from happening by simply acting on the FMP or amendment, this provision does not

convey significant authority to the Council because FMPs and amendments have no legal effect




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  The Executive Branch has long understood the Councils’ role to be wholly advisory and has
implemented the Magnuson-Stevens Act accordingly. See President Trump Signing Statement on
2018 Amendments to Magnuson-Stevens Act, 2018 WL 6839393 (Dec. 31, 2018) (“Keeping
with past practice of the executive branch, my Administration will treat the plans promulgated by
the Council as advisory only ; the adoption of the plans will be subject to the discretion of the
Secretary of Commerce as part of the regulatory process described in … the [Magnuson-Stevens
Act].” (emphasis added)); President Bush Signing Statement on the 2006 Magnuson-Stevens
Reauthorization Act, 2007 U.S.C.C.A.N. S83, 2007 WL 892712 (Jan. 12, 2007); President
Clinton Signing Statement on the 1996 Sustainable Fisheries Act, 1996 U.S.C.C.A.N. 4120,
1996 WL 787969 (Oct. 11, 1996).


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on fishery participants on their own and must be implemented through the APA rulemaking

process that only the Secretary can carry out. See N.C. Fisheries, 550 F.3d at 17 (noting that

FMPs “do not themselves have any regulatory effect”). Plaintiffs have conflated the “take effect”

language from the Magnuson-Stevens Act with the phrase “independent effect” from Lucia. Pls.’

Br. at 17. But an FMP cannot have “independent effect” because it does not, in and of itself, bind

fishery participants.

       Plaintiffs’ assertions about the regulations that implement FMPs, including the concept of

consultation with the Council, are also weak. Id. at 17-18. The Secretary has ultimate discretion

over the contents of any implementing regulations. The Act does not limit her authority to revise

a Council’s proposal, but instead includes only procedural requirements to consult with the

Council and explain any changes. See 16 U.S.C. § 1854(b)(3). The power to alter a proposed rule

before it binds fishery participants “rests only with the Secretary.” Fishing Co. of Alaska v.

Gutierrez, 510 F.3d 328, 333 (D.C. Cir. 2007) (citing 16 U.S.C. § 1854(b)(3)) (“The Council is

free to submit comments on a proposed rule (as are others), but power to alter the rule before it

becomes final rests only with the Secretary.”). A final rule—and thus the Secretary’s decision to

revise (or not revise) a proposed rule—may be declared invalid only if “the Secretary acts in an

arbitrary and capricious manner in promulgating [the] regulations.” Alaska Factory Trawler

Ass’n v. Baldridge, 831 F.2d 1456, 1460 (9th Cir. 1987).

       Plaintiffs suggest that, by requiring the Secretary to consult with the Council before

finalizing a rule departing from a Council proposal and requiring the Secretary to issue final

regulations within 30 days after the comment period ends, see 16 U.S.C. § 1854(b)(3), Congress

meant to give Councils a back-door mechanism to compel the Secretary to issue its proposed rule

without changes. In Plaintiffs’ view, “the Council can deny consultation for that 30-day period”




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and then NMFS must promulgate the Council’s proposed regulation without revision. Pls.’ Br. at

18. This strawman argument finds no footing in the actual text of the Act. Congress did not, by

directing NMFS to attempt consultation, give Councils a pocket veto. See Lofstad, 117 F.4th at

500 (“The consultation requirement does not give the Council a back door to force its proposals

into law.”). Absent any contrary statutory direction, the Secretary completes her obligation to

“consult” under section 1854(b)(3) once she solicits Council input and offers an opportunity to

respond. Nothing stops her from acting if the Council fails to respond.

       Plaintiffs’ argument misrepresents the government’s position in another district court

matter 11 and ignores governing law. “Time-related directives seek speed by directing a … public

official to act by a certain time. Missing that kind of deadline does not deprive the official of the

power to take the action to which the deadline applies.” McIntosh, 601 U.S. at 339. The

Magnuson-Stevens Act does not compel the Secretary to promulgate a rule with which she

disagrees if a Council rebuffs her consultation.

       Fourth, Plaintiffs’ assertion about the Council’s role in record-development does not bear

the weight placed on it. Pls.’ Br. at 18-19. NMFS plays a central role in developing the record

before the Councils. NMFS is both represented on each Council and provides technical support

services necessary for the Councils’ effective functioning, see 16 U.S.C. § 1852(f)(1)-(3). NMFS




11
  In Oceana, Inc. v. Ross, No. 17-cv-05146, ECF No. 124, at 2-3 (C.D. Cal. Nov. 18, 2019), the
court ordered NMFS both to publish final regulations by a date certain and to consult the Council
before revising the proposed regulations. Id. at 7. Because the Council did not meet until after
the date by which the district court ordered NMFS to promulgate regulations, NMFS “d[id] not
have an opportunity to consult with the Council on revisions to the regulations before the Court’s
deadline.” 85 Fed. Reg. 7246, 7247 (Feb. 7, 2020) (emphasis added). Those regulations were
ultimately vacated by another court because NMFS had concluded that they were inconsistent
with National Standard 7, but promulgated them “only to comply with the California district
court’s order[.]” Burke v. Coggins, 521 F. Supp. 3d 31, 38-39 (D.D.C. 2021). The court order,
not the Act, constrained the Secretary in Oceana.


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ensures that Councils consider robust records that can inform and support both the Councils’

recommendations and NMFS’s consideration of them. See AR010426 (noting that NMFS

identified three chapters needing further clarification). Additionally, a Council’s record forms

only part of the administrative record for any final NMFS action. NMFS’s administrative record

necessarily extends beyond the Council’s record, as evidenced by the notice-and-comment

process every proposed FMP, amendment, and regulation undergoes. See AR010681-011556.

       Plaintiffs also ignore important differences between agency adjudication and rulemaking

and rely on inapposite case law involving creation of a factual record for decisions in

adjudicative proceedings. Pls.’ Br. at 18 (citing Freytag, 501 U.S. 868 (tax judges), and Lucia,

585 U.S. 237 (administrative law judges)). Courts considering Appointments Clause challenges

in the adjudication context have emphasized an administrative law judge’s (or similar official’s)

ability to shape the factual record for any subsequent legal decision by managing discovery,

deciding whether and when to compel the production of evidence, and similar decisions that

drive adjudicative fact-finding. But even if such actions could improperly constrain a final

decisionmaker in an adjudication, those concerns do not translate to rulemaking. Here, the Gulf

Council’s decisions about what to place in the record for the Council’s recommendation do not

limit what NMFS may consider in NMFS’s rulemaking decision. Rather, NMFS can add to the

record, and weigh, any information that arises from within the agency or through the notice-and-

comment process, even if it was not in the Council’s record. Thus, a Council’s ability to

contribute to the record before NMFS does not give it significant authority.

   E. Plaintiffs Cannot Salvage Their Argument By Invoking Ancillary Provisions.

       There likewise is no merit to Plaintiffs’ contention that the Council has significant

authority under several other provisions of the Magnuson-Stevens Act, as well as some from




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other statutes. Pls.’ Br. at 19-21. To begin with, none of these provisions were involved in

promulgation of the challenged Final Rule. 12 Plaintiffs therefore lack standing to challenge the

constitutionality of these provisions. To establish Article III standing, Plaintiffs must show that

they have has suffered “a concrete, particularized injury fairly traceable to the defendants’

conduct in enforcing the specific statutory provision they attack as unconstitutional.” California

v. Texas, 593 U.S. 659, 680 (2021) (emphasis added). Plaintiffs cannot make that showing here.

The challenged Final Rule does not involve an effort to establish a limited access system, to

delegate fishery management to States, to repeal or revoke a plan, or to compel the Secretary to

issue emergency or interim measures. While Plaintiffs argue that sections 1854(c)(3),

1856(a)(3)(B), 1854(h), and1855(c)(2)(A) improperly empower Council members to block or

compel Secretarial action, Pls.’ Br. at 19-20, none of those provisions are implicated here.

Likewise, the Council’s authorities under other statutes cited by Plaintiffs (id. at 21) played no

role here. This case instead involves the decision by the Secretary to approve and implement a

sector reallocation proposed by the Council as part of a rebuilding plan. Any decision concerning

other statutory provisions not implicated here would amount to an advisory opinion. 13

       In any event, on the merits, none of the provisions authorizes Councils to take any action

binding fishery participants. Each of the cited ancillary provisions also has quite limited scope.


12
  While the gag grouper fishery includes a limited access system previously established under
16 U.S.C. § 1854(c)(3), Amendment 56 does not involve the establishment of the system, which
occurred years ago. In any event, the limited access system in place in this fishery was originally
proposed by the Gulf Council and then approved by the Secretary, and so did not involve any
effort by the Gulf Council to “block the Secretary’s action on policy grounds.” Pls.’ Br. at 20.
13
  Plaintiffs contend that, under Freytag, they can challenge any authority of Council members to
establish that they are officers, even if it played no role in the matter at hand. Pls. Br. at 12-13.
But this ignores more recent developments in standing law. See California, 593 U.S. at 680. In
any case, in Freytag, the Court held that the combination of different powers sufficed to make
special trial judges officers of the United States, and that at least some of those powers had
directly injured the challengers. See 501 U.S. at 881-882. So even if Freytag’s approach had not


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For these reasons, any authority conferred on the Gulf Council is not “significant” authority

under the laws of the United States. And, ultimately, even if some of these provisions are

deemed to be “problematic portions” of the statute, the proper recourse is to sever them “while

leaving the remainder intact.” Lofstad, 117 F.4th at 501 (quoting Free Enter. Fund, 561 U.S. at

508).

        Section 1854(h) simply seeks a Council consensus before existing, Secretarially-

approved FMPs are repealed or revoked, and does not allow Councils to take any action that

binds fishery participants. The Secretary retains her authority to amend an FMP if the Council

fails to recommend an appropriate amendment in a reasonable timeframe, 16 U.S.C. § 1854(c),

and Councils cannot repeal or revoke any FMP without the Secretary’s approval, id. § 1854(h).

Plaintiffs insinuate that this section has implications for the balance of power between states and

the federal government. Pls.’ Br. at 19. Not so. States have no inherent authority to regulate

federal fisheries, although they can regulate vessels permitted under their own laws as they

operate in federal waters, if there is no FMP or if the state requirements are consistent with

applicable federal requirements. Id. § 1856(a)(3)(A). Moreover, if a fishery in federal waters

requires conservation and management, it would be unlawful to revoke a plan under the Act.

Thus, in the unlikely circumstances that revocation was proper, there would be no management

authority over the fishery left to “return” to the States. Pls.’ Br. at 19.

        Neither Section 1856(a)(3)(B) nor Section 1854(c)(3) constrains the Secretary. Contra

Pls.’ Br. at 20. These provisions instead only seek the concurrence of the Council for certain

limited actions with particular state and local relevance. The Council’s concurrence merely




been undermined by later developments in the law of standing, it can be distinguished because
none of the ancillary provisions cited by Plaintiffs here have caused any injury to them.


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ripens the issue for the Secretary’s ultimate decision, and case law shows that limited

concurrence provisions, particularly ones involving state and local support for a federal action,

do not constitute significant federal authority. For instance, two courts have expressly found that

a requirement in the Indian Gaming Reform Act, that the Secretary of the Interior obtain the

approval of the relevant State governor before taking land into trust for Indian gaming purposes,

does not violate the Appointments Clause. See Lac Courte Orielles Band of Lake Superior

Chippewa Indians of Wis. v. United States, 367 F.3d 650, 662 (6th Cir. 2004); Confederated

Tribes of Siletz Indians of Or. v. United States, 110 F.3d 688, 696-98 (9th Cir. 1997). Several

cases considering the question of whether a statute improperly delegates federal executive or

legislative power to a nonfederal actor have found that state and local concurrence requirements

are not instances of improperly delegated federal power. See, e.g., North Dakota v. United States,

460 U.S. 300 (1983) (implicitly upholding provisions of the Wetlands Act of 1961, amending the

Migratory Bird Hunting Stamp Act, that condition the authority of the United States to acquire

wetlands for waterfowl production purposes on the consent of the governor of the relevant State);

Currin v. Wallace, 306 U.S. 1, 15-17 (1939) (upholding provision conditioning the Secretary of

Agriculture’s authority under the Tobacco Inspection Act to designate a tobacco market for

government inspection and grading upon a referendum showing the support of two-thirds of the

tobacco growers in that market).

       Plaintiffs also incorrectly argue that Section 1855(c)(2) allows Councils to “compel the

Secretary to issue regulations.” Pls.’ Br. at 20. This provision establishes that the Secretary “shall

promulgate” emergency or interim measures if a Council “requests” such measures by

unanimous vote. Id. But “the Council cannot force the Secretary to take any particular action.”

Lofstad, 117 F.4th at 501. Also, because “the Secretary can and does block unanimous votes by




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having her designee (the Regional Director) vote against all such measures . . . [t]his Council

authority is not significant either.” Id.

        In an “everything but the kitchen sink” approach, Plaintiffs present numerous provisions

from other statutes, but this collateral attack also fails. Pls.’ Br. at 21. First, the thrust of

Plaintiffs’ Complaint is that the Council’s work under the Magnuson-Stevens Act violated the

Appointments Clause, not their work under another statute. See Doc. 1 at 18 (“Because the Final

Rule was issued under the provisions of the Magnuson-Stevens Act that require the Gulf Council

to have first validly adopted an amendment … the Final Rule was ‘not in accordance with

law,’…” (emphasis added)). Moreover, the challenged rule in this case does not involve any of

these non-Magnuson-Stevens Act provisions. Plaintiffs also misunderstand the provisions. For

example, a closer look at 16 U.S.C. § 773c(c) reveals that the process for rulemaking to

implement the Convention for the Preservation of the Halibut Fishery is similar to the

Magnuson-Stevens Act scheme: the Council “may develop regulations,” but such regulations

“shall only be implemented with the approval of the Secretary.” Id. (emphasis added). Thus, the

Secretary executes “last-word capacity.” Lucia, 585 U.S. at 249. 14

     F. The Court Must Construe Any Ambiguity to Avoid Constitutional Doubt.

        The Magnuson-Stevens Act does not assign significant authority to Councils. But even if

the Court found some ambiguity about whether any particular provision might afford Council




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  Plaintiffs contend that members of the Gulf Council are principal rather than inferior officers.
Pls.’ Br. at 21-25. The Court need not reach this question because Council members are not
officers at all. But if the Court were to conclude that Council members exercise significant
authority in some circumstances, they would do so only as inferior officers subject to the
Secretary’s supervision. See Arthrex, 594 U.S. at 13) (“Whether one is an inferior officer
depends on whether he has a superior other than the President.”) (quoting Edmond v. United
States, 520 U.S. 651, 662 (1997).


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members significant authority, constitutional avoidance requires reading such provisions to

assign Councils an advisory role.

         The Court should not find the Act to authorize unconstitutional Council actions unless its

plain terms unambiguously do so. If there is a reading of the Act that is “fairly possible” and

consistent with the Constitution, “the canon of constitutional avoidance would [] counsel [] to

adopt it.” See United States v. Hansen, 599 U.S. 762, 781 (2023) (quoting Jennings v. Rodriguez,

583 U.S. 281, 296 (2018)). Here, it is at least “fairly possible” to read the Act to convey only

advisory responsibilities to Councils. Any ambiguity should be construed to avoid constitutional

doubts. The Court should “seek harmony” and confirm the Councils’ advisory role, rather than

take up Plaintiffs’ invitation “to manufacture conflict,” Hansen, 599 U.S. at 781. 15

II.      Plaintiffs Are Not Entitled to Relief Against the Final Rule.

      A. If the Court Identifies a Constitutional Flaw with Any Provisions, the Proper
         Remedy Is Severance.

         The Assistant Administrator has authority to disapprove Council recommendations and to

revise proposed regulations. See supra. Her decision to approve Amendment 56 and promulgate

the Final Rule did not violate the Appointments Clause. But if the Court were to conclude that

the Act nevertheless permits the Gulf Council to constrain the Secretary’s discretion in a manner

that constitutes significant authority, then the proper response is severance. See Lofstad, 117

F.4th at 501 (“Even though this statute has no severability clause, we can sever an




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  Because the Council members do not exercise significant federal authority, the removal
question is immaterial. See Seila L. LLC v. CFPB, 591 U.S. 197, 212-13 (generally providing
that removal restrictions apply only to officers). Regardless, Plaintiffs have failed to state a
removal claim because they have not established any injury traceable to the removal question.
See Collins v. Yellen, 141 S. Ct. 1761, 1788-89 (2021) (To obtain a remedy, the challenging
party must demonstrate not only that the removal restriction violates the Constitution but also
that “the unconstitutional removal provision inflicted harm.”).


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unconstitutional provision unless Congress evidently would not have passed the remaining parts

without the invalid ones.” (citation omitted)). This approach would resolve the alleged

“constitutional issues presented without invalidating an entire statutory scheme that has

effectively governed the United States for decades.” New Eng. Fishermen’s, 2024 WL 5247893,

at *56.

          The Supreme Court took a similar approach to eliminate an Appointments Clause

violation in Arthrex. Arthrex addressed the status of judges serving on the Patent Trial and

Appeal Board, an adjudicative body. The Court held that the judges exercised powers

“incompatible with their appointment by the Secretary to an inferior office.” Arthrex, 594 U.S. at

23. That incompatibility arose from prohibitions on the relevant principal officer reviewing

patent judge decisions, see 35 U.S.C. § 6(c), and prohibitions on removing those judges at will,

see 5 U.S.C. § 7513. Together, these provisions “restrain[ed]” the principal officer from

reviewing the decisions, which broke the “chain of command” between the Director and his

subordinates. Arthrex, 594 U.S. at 18, 27. The Court concluded that this Appointments Clause

violation could be eliminated by “a tailored approach,” explaining that if the principal officer

“were to have the ‘authority to take control’ of” adjudicative proceedings, then patent judges

“would properly function as inferior officers.” Id. at 25. The Court thus severed 35 U.S.C. § 6(c)

“to the extent that its requirements prevent the [principal officer] from reviewing final decisions

rendered by” patent judges. Id.

          A comparable “tailored approach” here would sever any Magnuson-Stevens Act

provisions to the extent those particular provisions provide Councils with authority incompatible

with their method of appointment, thereby making clear that Councils play an advisory role.

Severing any constraints on the Secretary’s review of Council proposals found to be




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unconstitutional would mirror the Supreme Court’s approach in Arthrex, thereby permitting the

principal officer to review and reject decisions by patent judges. Adopting such an approach here

would be the narrowest possible modification to the scheme Congress created in the Act and

would cure any constitutional violation.

       This approach follows the “ normal rule” that “ partial” rather than wholesale

“invalidation is the required course,” so as not to “nullify more of a legislature’s work than is

necessary.” Ayotte v. Planned Parenthood of N. New Eng., 546 U.S 320, 329 (2006) (cleaned

up). If the “remainder of the statute is ‘capable of functioning independently’ and thus would be

‘fully operative’ as a law,” “[t]he Court’s precedents reflect a decisive preference for surgical

severance rather than wholesale destruction.” Barr v. Am. Assoc. of Pol. Consultants, 590 U.S.

610, 626 (2020) (plurality opinion) (citation omitted). This limited approach to severance would

respect Congress’ policy conclusions about the need for a structured fisheries management

process that includes state and regional participation and preserve the Act as an independently

functioning, fully operative law.

   B. Plaintiffs Have Not Shown Any Injury Resulting from Any Infirmity in the Council.

       Plaintiffs also have not shown that any putative constitutional infirmity in the

appointment of Gulf Council members caused any injury they suffer. First, any injury here flows

from the Assistant Administrator’s independent decision to promulgate the Final Rule

implementing the revised sector allocation. Second, a duly appointed quorum of the Council

voted to recommend the revised sector allocation.

       Plaintiffs identify no infirmity in the Final Rule and do not dispute that the Assistant

Administrator is a properly appointed inferior officer duly authorized to exercise the Secretary’s

authorities under the Magnuson-Stevens Act. Plaintiffs merely take issue with the Council’s role




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in providing its recommendation. But that recommendation was purely advisory, and even

without it, the Assistant Administrator would have had authority to revise the sector allocation if

she concluded it was necessary for “conservation and management” of the fishery and the

Council failed “to develop and submit” an amendment in “a reasonable period of time,” 16

U.S.C. § 1854(c)(1)(A), (c)(6). The Assistant Administrator’s independent act imposing the

sector allocation breaks any causal link between the Council’s action and injury to Plaintiffs.

          Besides, even accepting Plaintiffs’ argument that Council members are officers, a duly

appointed quorum of the Gulf Council recommended the challenged amendment. Eleven of the

Council’s members were validly appointed by the Secretary. Nine of these eleven members

constituted a quorum 16 that passed Amendment 56, with eight voting in favor and one voting

against it. See AR005302. Thus, even if the other non-appointed members’ votes were

invalidated, the Council’s recommendation would be unchanged.

          Plaintiffs attempt to avoid this result by arguing that “if any Council member is

unconstitutionally appointed, then the Council is still improperly constituted.” Pls.’ Br. at 27.

This assertion goes too far. And their reference to Free Enterprise Fund does not assist, because

“the referenced portion dives into arguments about whether an individual, or a commission, is

the Head of a Department under the Appointments Clause.” Arnesen v. Raimondo, No. 1:23-CV-

145-TBM-RPM, 2024 WL 377820, at *23 (S.D. Miss. Jan. 31, 2024) (discussing Free Enter.

Fund, 561 U.S. at 511-12 & n.12). Plaintiffs’ reliance on FEC v. NRA Political Victory Fund is

also misplaced because “there is no separation of powers issue” and Plaintiffs “make no factual

allegations that the Council Members somehow exerted influence and control over the decisions




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     “A majority of the voting members of any Council shall constitute a quorum,” 16 U.S.C.
§ 1852(e)(1), and there are 17 voting members on the Gulf Council. See id. § 1852(a)(1)(E).


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of the others in their ‘on the record’ meetings.” Arnesen, 2024 WL 377820, at *23 (discussing

FEC v. NRA Pol. Victory Fund, 6 F.3d 821, 826 (D.C. Cir. 1993)). Thus, the vote of the Council

should be “accorded de facto validity.” Buckley, 424 U.S. at 142.

       Plaintiffs’ invocation of the government’s position in a 2004 case is taken out of context.

See Pls.’ Br. at 26 (citing Delta Com. Fisheries Ass’n v. Gulf of Mex. Fishery Mgmt. Council,

364 F.3d 269, 271 (5th Cir. 2004)). The issue in that case was the balance on the Gulf Council

between recreational and commercial fishermen. Read in full, the sentence from the decision

states: “The Association complained to the Secretary about this imbalance, but the Secretary

responded that his ability to ensure ‘fair and balanced’ representation is limited because the

governors control the pool of available appointees.” Id. The first part of the sentence makes clear

the focus of the government’s position, and Plaintiffs have misrepresented that position by

contending that “the Secretary’s ability to influence a Council’s position” was somehow limited.

Pls.’ Br. at 26. Further, the Secretary may send the slate of candidates back to the governor and

request a new slate of potential appointees. 16 U.S.C. § 1852(b)(2)(C).

                                         CONCLUSION

       For the reasons discussed above, the Court should deny Plaintiffs’ motion for summary

judgment and grant Defendants’ cross-motion for summary judgment.


Dated: January 10, 2025                       Respectfully submitted,

                                              TODD KIM
                                              Assistant Attorney General
                                              S. JAY GOVINDAN
                                              Section Chief
                                              MEREDITH L. FLAX
                                              Deputy Section Chief
OF COUNSEL
                                              /s/ Frederick H. Turner
MARA B. LEVY                                  FREDERICK H. TURNER



                                                35
National Oceanic and Atmospheric   Senior Trial Attorney
    Administration                 Wildlife and Marine Resources Section
Office of General Counsel          Environment and Natural Resources Division
St. Petersburg, FL                 United States Department of Justice
                                   P.O. Box 7611
                                   Washington, D.C. 20044-7611
                                   Phone: (202) 305-0641
                                   Fax: (202) 305-0275
                                   Email: frederick.turner@usdoj.gov

                                   TIMOTHY A. HEISTERHAGEN
                                   Assistant United States Attorney, Civil Chief
                                   United States Attorney’s Office
                                   Southern District of Alabama

                                   Attorneys for Defendants




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